                                                           IT IS ORDERED
                                                           Date Entered on Docket: July 10, 2020




                                                           ________________________________
                                                           The Honorable Robert H Jacobvitz
                                                           United States Bankruptcy Judge
______________________________________________________________________

                               UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF NEW MEXICO
  In re:

  Laura J Garcia, xxx-xx-5670 and
  Alfredo Gallardo Garcia, xxx-xx-4917                                 Case No. 19-12666-j13

                                                             Debtor(s).

                           ORDER APPROVING FEE APPLICATION

           THIS MATTER came before the Court on the Attorney Fee Application filed June 2,

  2020, doc. 38 (the “Fee Application”). The Court, being sufficiently advised, FINDS:

           A.      Gaffney Law, PC (“Attorney”) is counsel for Debtors. This is Attorney’s first

  and final fee application.

           B.      Debtors gave Attorney a pre-petition retainer of $1,500.00 (the “Retainer”). Of

  the retainer, $1,500.00 should be applied to amount sought herein.




  NM LF 2016-13(b)
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         C.         Attorney seeks approval of the following fees, costs, and gross receipts tax:

                     1. Attorney fees                                   $4,258.861
                     2. Paralegal fees                                  $0.002
                     3. Gross receipts tax (“GRT”)                      $0.003
                     on attorney and paralegal fees
                     4. Subtotal (lines 1, 2 and 3)                     $4,258.86
                     5. Expenses and costs                              $741.14
                     6. GRT on expenses and costs                       $0.004
                     7. Subtotal (lines 5 and 6)                        $741.14
                     8. Total fees and expenses                         $5,000
                     (lines 4 and 7) (the “Fees and
                     Expenses”)

         D.         All Fees and Expenses represent reasonable compensation to Attorney for

representing the interests of the Debtor(s) in connection with this bankruptcy case. The Fees and

Expenses are for actual and necessary services and costs that benefitted the Debtor(s) or the

estate. The Fees and Expenses should be allowed and paid as an administrative expense.

         E.         The Court grants final approval of Attorney’s Fees and Expenses approved on

an interim basis.

         F.         Notice of the Fee Application, and of a 21-day period to object thereto, were

mailed on June 2, 2020, to the parties on the Court’s official mailing list for this case. Notice was

sufficient in the particular circumstances.

         G.         The deadline to object to the Fee Application has expired. No objections were

filed.

         H.         The Fee Application complies with Bankruptcy Code §§ 328 and 330 and

Bankruptcy Rule 2016.

         I.         The compensation sought by the Attorney under the Fee Application is

1
  Attorney’s actual billings totaled $4,847.5 – Attorney is voluntarily waiving a portion of those fees to match the
award to the estimate in the confirmed plan.
2
  Attorney has no paralegal staff.
3
  Attorney does not pass along gross receipts taxes to consumer clients.
4
  Attorney does not pass along gross receipts taxes to consumer clients.

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reasonable and is for actual and necessary services that benefited the estate.

       It is therefore ORDERED:

       1.      The Fees and Expenses are hereby allowed as a priority, administrative expense in

this case, in the amount stated above (paragraph C, line 8).

       2.      The Chapter 13 Trustee is authorized to pay the Fees and Expenses to Attorney

from estate funds, less the retainer, if applicable, and any previous, estate-fund payments.

                                   XXX END OF ORDER XXX


Respectfully submitted:

/s Joel Alan Gaffney
Joel Alan Gaffney
Attorney for Debtors
6565 America’s Parkway NE # 200
Albuquerque, NM 87110
(505) 563-5508
joel@gaffneylaw.com

Copy to:

U.S. Trustee’s Office
P.O. Box 608
Albuquerque NM 87103




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